               Case 2:18-cv-04379-JS Document 47 Filed 07/31/19 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    NORTHEAST INDUSTRIES, LLC.,                    :           CIVIL ACTION
    et al.                                         :
                                                   :           No. 18-4379
      v.                                           :
                                                   :
    ON TARGET LABORATORIES, LLC,                   :
    et al.                                         :

                                              ORDER

           AND NOW, this 31st day of July, 2019, the Court having receiving notice of the parties’

tentative settlement, 1 it is ORDERED the following motions are DISMISSED as moot without

prejudice to reassertion in the event the settlement is not consummated:

           •      Defendants On Target Laboratories, LLC, On Target Laboratories, Inc., and Martin

Low’s Motion for Summary Judgment (Document 23);

           •      Defendants’ Motion in Limine to Preclude Evidence and/or Testimony of

Settlement Offers, Negotiations and/or Discussions (Document 27);

           •      Defendants’ Motion in Limine to Preclude Evidence and/or Testimony that On

Target Laboratories, LLC’s and On Target Laboratories, Inc.’s Board Did Not Approve the

Consulting Agreement (Document 28);

           •      Defendants’ Motion in Limine to Preclude Evidence and/or Testimony that

Plaintiffs Made Introduction to Companies Other Than Johnson & Johnson (Document 29); and




1
  During a teleconference on July 31, 2019, the parties represented to the Court that mutual releases
had been signed and payment of the settlement amount would be forthcoming. Once the funds are
paid, the parties should provide written notice to the Court so that it may enter an order pursuant
to Local Rule of Civil Procedure 41.1(b).
           Case 2:18-cv-04379-JS Document 47 Filed 07/31/19 Page 2 of 2



       •      Plaintiffs Northeast Industries, LLC and Joseph Deluca’s Motion in Limine to

Preclude Evidence of, Mention of, or Testimony Regarding Any Previous Lawsuit to Which

Northeast or Deluca Was a Party (Document 30).



                                                       BY THE COURT:



                                                       /s/ Juan R. Sánchez
                                                       Juan R. Sánchez, C.J.
